Case 1:14-cr-00086-IMK-MJA Document 85 Filed 01/09/15 Page 1 of 4 PageID #: 264



                  IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


 UNITED STATES OF AMERICA,

                  Plaintiff,

      v.                                  CRIMINAL NO. 1:14CR86-1
                                               (Judge Keeley)


 TIMOTHY WAYNE FERRELL, JR.,

                  Defendant.

          ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
         OPINION/REPORT RECOMMENDATION CONCERNING PLEA OF
      GUILTY IN FELONY CASE AND SCHEDULING SENTENCING HEARING

      On December 23, 2014, defendant, Timothy Wayne Ferrell, Jr.

 (“Ferrell”), appeared before United States Magistrate Judge John S.

 Kaull and moved for permission to enter a plea of GUILTY to Counts

 Four and Forty-Nine of the Indictment. Ferrell stated that he

 understood that the magistrate judge is not a United States

 District Judge, and consented to pleading before the magistrate

 judge.    This Court had referred the guilty pleas to the magistrate

 judge for the purposes of administering the allocution pursuant to

 Federal Rule of Criminal Procedure 11, making a finding as to

 whether the pleas were knowingly and voluntarily entered, and

 recommending to this Court whether the pleas should be accepted.

      Based upon the government’s proffer establishing that an

 independent factual basis for the pleas existed, the magistrate

 judge found that Ferrell was competent to enter the pleas, that the

 pleas were freely and voluntarily given, that he was aware of the
Case 1:14-cr-00086-IMK-MJA Document 85 Filed 01/09/15 Page 2 of 4 PageID #: 265



 USA v. TIMOTHY WAYNE FERRELL, JR.                                  1:14CR86-1

            ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
           OPINION/REPORT RECOMMENDATION CONCERNING PLEA OF
       GUILTY IN FELONY CASE AND SCHEDULING SENTENCING HEARING

 nature of the charges against him and the consequences of his

 pleas, and that a factual basis existed for the tendered pleas. On

 December 24, 2014, the magistrate judge entered an Opinion/Report

 and Recommendation Concerning Plea of Guilty in Felony Case (“R&R”)

 (dkt. no. 63) finding a factual basis for the pleas and recommended

 that this Court accept Ferrell’s pleas of guilty to Counts Four and

 Forty-Nine of the Indictment.

        The magistrate judge also directed the parties to file any

 written objections to the R&R within fourteen (14) days after

 service of the R&R. The magistrate judge further directed that

 failure to file objections would result in a waiver of the right to

 appeal from a judgment of this Court based on the R&R. On January

 9, 2015, the government, by Assistant United States Attorney Shawn

 A. Morgan (“Morgan”), responded to the R&R stating the government

 had   no   objection   (dkt.   No.   84).    Ferrell   did   not    file   any

 objections.

       Accordingly, this Court ADOPTS the magistrate judge’s R&R,

 ACCEPTS Ferrell’s guilty pleas, and ADJUGES him GUILTY of the

 crimes charged in Counts Four and Forty-Nine of the Indictment.

        Pursuant to Fed. R. Crim. P. 11(e)(2) and U.S.S.G. § 6B1.1(c),

 the Court DEFERS acceptance of the proposed plea agreement until it

                                       2
Case 1:14-cr-00086-IMK-MJA Document 85 Filed 01/09/15 Page 3 of 4 PageID #: 266



 USA v. TIMOTHY WAYNE FERRELL, JR.                                 1:14CR86-1

          ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
         OPINION/REPORT RECOMMENDATION CONCERNING PLEA OF
     GUILTY IN FELONY CASE AND SCHEDULING SENTENCING HEARING

 has received and reviewed the presentence report prepared in this

 matter.

      Pursuant to U.S.S.G. § 6A1 et seq., the Court ORDERS as

 follows:

      1.    The    Probation      Officer    undertake      a     presentence

 investigation    of   TIMOTHY   WAYNE    FERRELL,   JR.,   and    prepare   a

 presentence report for the Court;

      2.    The Government and Ferrell are to provide their versions

 of the offense to the probation officer by January 23, 2015;

      3.    The presentence report is to be disclosed to Ferrell,

 defense counsel, and the United States on or before March 10, 2015;

 however, the Probation Officer is not to disclose the sentencing

 recommendations made pursuant to Fed. R. Crim. P. 32(e)(3);

      4.    Counsel may file written objections to the presentence

 report on or before March 24, 2015;

      5.    The Office of Probation shall submit the presentence

 report with addendum to the Court on or before April 8, 2015; and

      6.    Counsel may file any written sentencing statements and

 motions for departure from the Sentencing Guidelines, including the




                                      3
Case 1:14-cr-00086-IMK-MJA Document 85 Filed 01/09/15 Page 4 of 4 PageID #: 267



 USA v. TIMOTHY WAYNE FERRELL, JR.                                    1:14CR86-1

          ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
         OPINION/REPORT RECOMMENDATION CONCERNING PLEA OF
     GUILTY IN FELONY CASE AND SCHEDULING SENTENCING HEARING

 factual    basis    from    the   statements    or   motions,   on   or   before

 April 22, 2015.

      The magistrate judge remanded Ferrell to the custody of the

 United States Marshal Service.

      The    Court    will    conduct    the    sentencing   hearing    for   the

 defendant on Monday, April 27, 2015 at 2:30 P.M. at the Clarksburg,

 West Virginia point of holding court.

      It is so ORDERED.

      The Clerk is directed to transmit copies of this Order to

 counsel of record, the defendant and all appropriate agencies.

 DATED: January 9, 2015


                                        /s/ Irene M. Keeley
                                        IRENE M. KEELEY
                                        UNITED STATES DISTRICT JUDGE




                                          4
